Case 2:23-cr-20191-MSN Document 151 Filed 02/05/24 Page 1 of 2                     PageID 796


                                          LAW OFFICES OF

   RITCHIE, DAVIES, JOHNSON & STOVALL, P.C.
                                  606 WEST MAIN STREET, SUITE 300
                                    KNOXVILLE, TENNESSEE 37902

  WAYNE A. RITCHIE                                                   TELEPHONE (865) 637-0661
  WADE V. DAVIES                                                      FACSIMILE (865) 524-4623
  STEPHEN ROSS JOHNSON
  JAMES R. STOVALL                                                                  RDJS.LAW
  SAMANTHA I. ELLIS
  CATALINA L.C. GOODWIN
  S. RENEE HAMMOND
  ROBIN E. McMILLAN
  GEORGIA A. MILLER
                                        February 5, 2024

VIA EMAIL AND ELECTRONIC FILING

David Pritchard, Assistant United States Attorney
Elizabeth Jane Rogers, Assistant United States Attorney
United States Attorney’s Office
Western District of Tennessee
167 N. Main Street, Suite 300
Memphis, TN 38103

Forrest Christian, Deputy Chief
Kathryn E. Gilbert, Special Litigation Counsel
United States Department of Justice
Civil Rights Division
150 M Street NE
Washington, DC 20002

       RE:     United States of America v. Emmitt Martin, III
               United States District Court for the Western District of Tennessee
               Case No. 2:23-cr-20191-MSN

               SECOND REQUEST FOR DISCOVERY

Dear Mr. Pritchard, Mr. Christian, and Ms. Gilbert:

        Mr. Martin, through counsel William D. Massey, made an initial request for discovery in
this case on September 21, 2023. (Doc. 48). You have filed two formal responses (Docs. 47 and
94), and provided discovery via internet download links, hard drives, and made items available for
inspection at the United States Attorney’s Office. By our count, there have been 9 discovery
productions from the government, the most recent of which was made via USAfx download on
January 26, 2024. We also received your opinion testimony disclosures on January 31, 2024, via
electronic filing. Our analysis and review of the voluminous discovery materials are ongoing. As
you know, our office did not get involved in this case until November of 2023, and we were not
involved in the state case pending in Shelby County Criminal Court against Mr. Martin.
 Case 2:23-cr-20191-MSN Document 151 Filed 02/05/24 Page 2 of 2                         PageID 797


         1. Rule 12(b)(4)(B) Request. The initial comprehensive discovery request made by Mr.
Martin on September 21, 2023, fairly encompasses a request for materials falling under Federal
Rule of Criminal Procedure 12(b)(4)(B). To clarify, though, and given the extensive volume of
materials provided, Mr. Martin requests “notice of the government’s intent to use (in its evidence-
in-chief at trial) any discoverable evidence under Rule 16.” See Fed. R. Crim. P. 12(b)(4)(B). There
is a difference between what must be produced and what the government intends to use in its case-
in-chief at trial. Given the volume of information provided, such as the extensive video and audio
footage, it is necessary for the government to detail what it is going to use in its evidence-in-chief.
For example, if the government is intending to introduce certain audio or video recordings, or any
other form of an alleged statement (such as a writing), under Federal Rule of Evidence
801(d)(2)(E), in a multi-defendant case it is necessary for the defense to have notice in advance so
that the appropriate pretrial litigation can occur on the admissibility of such evidence to prevent
any constitutional confrontation issue at trial and to enable effective preparation of the defense.

        2. Brady Designation. The items provided to date consist of over 800 gigabytes of material
in multiple formats, ranging from documents to recordings. While a large amount of information
has been produced, it is unclear which items the government intends to introduce in its case-in-
chief, what is material to defense preparation, and what is Brady. We request that any Brady
material within the discovery previously provided be identified specifically, and specifically for
any future supplemental discovery provided. See United States v. Saffarinia, No. 19-216, 2020
U.S. Dist. LEXIS 6735, 2020 WL 224599 (D.D.C. Jan. 15, 2020) (Sullivan, D.J.) (requiring
government to delineate exculpatory evidence provided out of voluminous materials disclosed).

        3. Specific Request Regarding Cellular Phones. You have indicated that there are certain
materials available for inspection at the United States Attorney’s Office. (Doc. 94). You have also
recently provided select printouts from the Cellebrite report for defendant Haley’s cellular phone.
We are specifically requesting the full extraction reports from Cellebrite, or any other extraction
software, in your possession for any cellular phones obtained. Given potential limitations with
production via download link or USAfx, please let us know if we need to provide you with a
download link for these extraction reports.

                                               Sincerely yours,

                                               RITCHIE, DAVIES, JOHNSON & STOVALL, P.C.

                                               /s/ Stephen Ross Johnson
                                               STEPHEN ROSS JOHNSON [BPR No. 022140]
                                               CATALINA L.C. GOODWIN [BPR No. 038660]
                                               606 W. Main Street, Suite 300
                                               Knoxville, TN 37902
                                               (865) 637-0661
                                               johnson@rdjs.law
                                               goodwin@rdjs.law

ec: William D. Massey, Esq.
